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IN THE UNITED STATES DISTRICT COURT Hi-E‘-> w U19 e.r;.
FOR THE WESTERN DISTRICT 0F TENNESSEE N_ n _`
WESTERN I)IVISION en nsz 25 PH 5: 2 2

GERALD BOWEN, et al.,

 

Plaimiffs,
v. NO. 04-2575 D/An

WORLDWIDE MORTGAGE CORP.,
et al.,

Defendants.

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ORDER DENYING MOTION FOR PROTEC'I`IVE ORDER

 

Before the Court is Defendant Homecoming Financial Network, Inc.’s (“Homecoming”)
Objections to Initial Disclosures and Motion for Protective Order filed on January 10, 2005. The
Court entered an Order Granting Homecoming’S Motion to Compel Arbitration; therefore, the

instant Motion for Protective Order is DENIED as moot.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS S() ORDERED.

Date: W/}/?\/-. 2~(/,_ ZOO§

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with eula se and/or re(a) FRCP on “ 1 `*S

 

May 26, 2005 to the parties listedl

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Honorable Bernice Donald
US DISTRICT COURT

